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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION                       )
 VOTING SYSTEMS, INC., and DOMINION                )
 VOTING SYSTEMS CORPORATION,                       )
                                                   )
        Plaintiffs,                                )
                                                   )
            v.                                     )     Case No. 1:21-cv-00445-CJN
                                                   )
 MY PILLOW, INC., and MICHAEL J.                   )
 LINDELL,                                          )
                                                   )
        Defendants.                                )

                       PLAINTIFFS’ MOTION FOR
       ADMISSION PRO HAC VICE OF ATTORNEY STEPHEN E. MORRISSEY

       Pursuant to Local Civil Rule 83.2(d) of the United States District Court for the District of

Columbia, Plaintiffs US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting

Systems Corporation move for the admission and appearance of attorney Stephen E. Morrissey

pro hac vice in the above-entitled action. This motion is supported by the Declaration of Stephen

E. Morrissey, filed herewith. As set forth in Mr. Morrissey’s declaration, he is admitted and in

good standing in the following bars and courts: State Bars of Washington, California, and the

District of Columbia, including the courts under their jurisdictions; the United States District

Courts for the Central District of California, Northern District of California, Southern District of

California, Western District of Washington, and Eastern District of Texas.
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       This motion is supported and signed by Thomas A. Clare, P.C., an active and sponsoring

member of the Bar of this Court.


 Dated: March 26, 2021                 Respectfully submitted,

                                       /s/ Thomas A. Clare, P.C.
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                                       Counsel for Plaintiffs




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document will be filed with

the Clerk of Court using the CM/ECF system and sent via email on March 26, 2021 to the

following:

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                                            /s/ Thomas A. Clare, P.C.
                                            Thomas A. Clare, P.C.




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